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DEFENDANT:                MATTHEW CHRISTOPHER HARRIS

YOB: 1990

ADDRESS (CITY/STATE): Boulder, Colorado

OFFENSE(S): (1) 18 U.S.C. § 875(c) (threats in interstate commerce)


LOCATION OF OFFENSE (COUNTY/STATE): Boulder County, Colorado

PENALTY:       (1) NMT 5 years’ imprisonment; NMT 3 years SR, $250,000 fine; $100 SA


AGENT:         Stephanie Benitez
               Special Agent, Federal Bureau of Investigation

AUTHORIZED BY: Julia Martinez
               Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:

 x    five days or less          over five days          other

THE GOVERNMENT

___X__ will seek detention in this case based on 18 U.S.C. § 3142(f)(2)

______will not seek detention

The statutory presumption of detention is not applicable to this defendant.

OCDETF CASE:                  Yes       x    No
